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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 EUTELSAT S.A.,                                  )
                                                 )
                Plaintiff,                       )      Case No. 1:22-cv-04788
                                                 )
 v.                                              )
                                                 )
 INTELSAT INFLIGHT LLC (F/K/A                    )
 GOGO LLC),                                      )
                                                 )
                Defendant.                       )

                                          COMPLAINT

       Plaintiff Eutelsat S.A. (“Eutelsat”) brings this Complaint against Defendant Intelsat

Inflight LLC (f/k/a Gogo LLC) (“Defendant” and, together with Eutelsat, the “Parties”) seeking

damages for anticipatory breach of contract or, in the alternative, promissory estoppel or breach of

the obligation to negotiate in good faith. In support of this action, Eutelsat states and alleges as

follows:

I.     PRELIMINARY STATEMENT

       1.      On or about September 26, 2019, after several months of negotiation, Eutelsat and

Defendant entered into a Service Order for Satellite Capacity on E10B (the “Service Order”), a

true and correct copy of which is attached hereto as Exhibit A, pursuant to which they agreed that

Eutelsat would provide, and Defendant would purchase, capacity on a new all-electric satellite to

be commissioned by Eutelsat.

       2.      The contract’s duration was seven years with a three-year ramp up in volume; the

services to be rendered included the provision of satellite capacity on the to-be-commissioned

satellite; and the pricing and fee structure included an annual service fee (obligating Defendant to

pay $150 million in total over the seven-year period)—all of which were clearly set forth in the
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contract. The Service Order further provided that its terms were “binding between the parties”

and was initialed and signed by the Parties’ representatives.

       3.      In reliance upon this binding contract, in or around late October 2019 Eutelsat

signed a letter of agreement with Thales Alenia Space (“Thales”) for the procurement of the new

satellite, Eutelsat 10B (“E10B”). Its expected in-service date was April 2023.

       4.      Following the signing of the Service Order, on October 29, 2019, Defendant issued

a press release announcing its “multi-year agreement” with Eutelsat and that it would meet

significant inflight connectivity demand through its “deal with Eutelsat.” See Press Release, Gogo,

“Gogo Meets Significant Inflight Connectivity Demand through Deal with Eutelsat” (Oct. 29,

2019) (the “Press Release”) at 1, a true and correct copy of which is attached hereto as Exhibit

B.

       5.      A week later, on November 7, 2019, Defendant held an earnings conference call in

which its president and CEO Oakleigh Thorne stated that Defendant had “commit[ed] to . . .

EUTELSAT 10B”—a commitment “which [had been announced]” the week before. See Thomson

Reuters Edited Transcript of Q3 2019 Gogo Inc. Earnings Call (Nov. 7, 2019) (the “Earnings Call

Transcript”) at 12, a true and correct copy of which is attached hereto as Exhibit C.

       6.      On or about August 31, 2020, Defendant was purchased by bankrupt satellite-

services company Intelsat S.A. (“Intelsat”), which operates a fleet of more than fifty satellites.

The sale transaction closed on December 1, 2020. According to Intelsat’s public filings, the

transaction was intended to “further propel[] the Company’s efforts in the growing commercial

[inflight connectivity] market, pairing [its] high-capacity global satellite and ground network with

[Defendant’s] installed base of more than 3,000 commercial aircraft to redefine the connectivity




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experience.”1 On information and belief, Intelsat planned for Defendant to purchase capacity on

Intelsat’s own satellites.

           7.    Shortly after the sale transaction closed, on or about January 19, 2021, Defendant

wrote to Eutelsat and stated, among other things, that “we do not intend to pursue a definitive

agreement for capacity on E10B as described in the” Service Order the Parties had negotiated and

executed. Defendant’s communication constituted a clear and unequivocal manifestation of its

intention not to perform its obligations under the Service Order. Although Eutelsat has worked

diligently and in good faith to mitigate the losses resulting from Defendant’s repudiation of its

obligations under the Service Order, it has been unable to sell the capacity that Defendant agreed

to purchase on E10B, which is set to launch in the fourth quarter of 2022.

           8.    As a result of Defendant’s repudiation of the Service Order, Eutelsat has suffered

at least $150 million in damages.

II.        THE PARTIES

           A.    Eutelsat

           9.    Eutelsat is a société anonyme governed by its articles of association and the

provisions of Book II of the French Commercial Code. Eutelsat’s headquarters and principal place

of business are in Issy-les-Moulineaux, France. It maintains regional offices in the United States

in Washington, D.C. and Miami, Florida. The purpose of the organization, in France and abroad,

is to supply Space Segment capacity and satellite communications systems and services. (The

term “Space Segment” refers to a set of telecommunications satellites, and the tracking, telemetry,

command, control, monitoring and related facilities and equipment necessary for the operation of




      1
       Intelsat S.A. Form 10-Q for the quarterly period ended March 31, 2021 (“Intelsat 10-Q”) at 34,
available at https://investors.intelsat.com/static-files/387c4b46-9265-4510-904b-4ce26b59c8e0.



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those satellites.) To that end, Eutelsat undertakes activities relating to the design, development,

construction, installation, operation, and maintenance of its Space Segment and of those satellite

systems and services.

            B.    Defendant

            10.   Defendant is a limited liability company organized and existing under the laws of

the State of Delaware that maintains an established place of business at 111 North Canal Street,

Chicago, Illinois 60606. Until August 31, 2020, Gogo Inc. was Defendant’s corporate parent. On

or about December 1, 2020, Defendant became an indirect wholly-owned subsidiary of Intelsat

pursuant to the Purchase and Sale Agreement, dated as of August 31, 2020, by and between Intelsat

Jackson Holdings S.A. and Gogo Inc. (the “Sale Transaction”).2 Defendant can be served through

its registered agent, Illinois Corporation Service Company, 801 Adlai Stevenson Drive,

Springfield, Illinois 62703.

III.        JURISDICTION AND VENUE

            A.    Jurisdiction

            11.   This Court has subject-matter jurisdiction pursuant to 28 U.S.C. §§ 1332 and 1367

because Eutelsat is a citizen of France; Defendant is a citizen of Illinois; and the amount in

controversy exceeds $75,000.

            12.   This Court has general personal jurisdiction over Defendant because Defendant

maintains an established place of business at 111 North Canal Street, Chicago, Illinois 60606,

which is located within the Northern District of Illinois.




       2
     See Purchase and Sale Agreement, dated as of August 31, 2020, by and between Intelsat Jackson
Holdings S.A. and Gogo Inc. (the “PSA”), available at https://www.sec.gov/Archives/edgar/data/1525773/
000119312520236642/d67300dex21.htm.



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       B.      Venue

       13.     Venue is proper in the United States District Court for the Northern District of

Illinois pursuant to 28 U.S.C. §§ 1391(b-d) because, inter alia, Defendant resides in, and is subject

to personal jurisdiction in, this District at the time Eutelsat commenced this action and because

Defendant’s contacts within this District are significant and sufficient to subject it to personal

jurisdiction. Further, venue is appropriate in this District because a substantial part of the events

or omissions giving rise to Eutelsat’s claim occurred in this District.

IV.    FACTS APPLICABLE TO ALL CLAIMS

       A.      Eutelsat

       14.     In 1977, seventeen European countries formed the European Telecommunications

Satellite Organization (“EUTELSAT IGO”). This intergovernmental organization established

the first telecommunications satellite system in Europe. Its central purpose was to design, develop,

construct, operate, and maintain the Space Segment for international public telecommunications

services in Europe. It launched its first two satellites in 1983 and 1984 and then began providing

Space Segment capacity for basic telecommunications and audiovisual services to Europe. It later

expanded its activities to the provision of a broad range of television and radio broadcasting

services, business telecommunications services, and multimedia communications services to

Europe, the Middle East, Africa, Asia, and the American continent.

       15.     Following the liberalization of the telecommunications sector in the early 2000s,

EUTELSAT IGO transferred all of its assets and operations to Eutelsat—a private company

established for the purpose—on or about July 2, 2001. Eutelsat’s activities diversified rapidly in

the 2000s to include internet and government services. For example, at around the time of the

commencement of the Iraq War in early 2003, Eutelsat established an American subsidiary

(Eutelsat America Corp.) based in Washington, D.C. in order to provide critical services to the



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United States government. By the end of 2010, Eutelsat had opened offices in several European

cities as well as in Asia and the Americas. The company also augmented teleports in France and

Italy to provide broadcast and broadband services in their respective regions.

        16.     Today, Eutelsat offers capacity on thirty-six satellites that provide coverage over

Europe, Africa, the Middle East, Asia, and the Americas and is one of the world’s largest

commercial satellite operators. On July 26, 2022, Eutelsat announced a ground-breaking merger

with OneWeb Ltd. (“OneWeb”). The new company will combine the proficiencies of Eutelsat’s

geostationary earth-orbit satellites with OneWeb’s low-orbit satellites to offer rapid connectivity

to customers.

        B.      Defendant

        17.     At the time of the Sale Transaction, Defendant had served the aviation industry for

nearly thirty years and was the only provider in its industry that was focused exclusively on inflight

connectivity and entertainment.3 Defendant’s customers were airlines in the commercial aviation

market and aircraft owners/operators in the business aviation market.4

        18.     Defendant had two reporting segments in the commercial aviation market:

Commercial Aviation North America (“CA-NA”) and Commercial Aviation Rest of World (“CA-

ROW”) and one business aviation market reporting segment, Business Aviation (“BA”).5

Through CA-NA, Defendant offered satellite connectivity and entertainment services to

commercial aircraft flying routes generally within North America.6              Through CA-ROW,

Defendant offered satellite connectivity and entertainment services to commercial aircraft flying


   3
        Gogo Inc. Form 10-K for the fiscal year ended December 31, 2019, available at
https://sec.report/Document/0001193125-20-072797/.
    4
      Id.
    5
      Id.
    6
      Id.



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routes outside of North America.7 Through BA, Defendant offered integrated equipment, network,

and Internet connectivity products and services to the business aviation market.8

         19.    In order to offer these satellite connectivity and entertainment services, Defendant

had to purchase capacity on satellites operated by satellite-services companies like Eutelsat or

Intelsat. Specifically, Defendant’s global “Ku-band satellite network” comprised thirty-four

satellites operated by SES, Intelsat, and other providers, including Eutelsat. The capacity, speed,

coverage, and reliability of this network depended upon incorporating new satellites, including

high throughput satellites (“HTS”) like E10B. Defendant also focused on incorporating new

satellite technologies into its business model, such as low-earth orbit and mid-earth orbit satellites.9

         C.     The Parties’ Negotiations and the Service Order

         20.    In or around mid-2019, Eutelsat and Defendant began negotiating the terms of the

Service Order, pursuant to which Defendant would purchase HTS capacity on E10B. At the time,

Defendant had been a long-standing partner of Eutelsat and had purchased capacity on

approximately three of Eutelsat’s satellites. For example, on November 15, 2015, Defendant

entered into a Master Satellite Services Agreement (the “MSA,” a true and correct copy of which

is attached hereto as Exhibit D) with Eutelsat subsidiary Satélites Mexicanos, S.A. de C.V.

(“Satmex”).10 Under the MSA, Satmex, through its satellite fleet, would provide, as requested by

Defendant or its affiliates, various satellite capacity services. See Ex. D (MSA) § 1.

         21.    During the Service Order negotiations, Defendant made clear what its objectives

were for the new satellite, and the Parties’ engineering teams discussed and engaged in frequent



    7
      Id.
    8
      Id.
    9
      Id.
    10
       Eutelsat completed its acquisition of Satmex on or about January 2, 2014.



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correspondence concerning the specifications that would allow Defendant to achieve those

objectives, including with respect to the location of satellite gateways, satellite beam coverage

patterns, and link budgets.11

          22.   On or about September 26, 2019, Defendant and Eutelsat entered into the Service

Order. The Service Order is a concrete expression of the essential terms of the Parties’ agreement

and manifests a clear intent to be bound by the agreement.

                1.       The Service Order Is A Concrete Expression of the Essential Terms of
                         the Parties’ Agreement

          23.   The Service Order is sufficiently definite to be enforceable because the Court can,

from the contract’s terms and provisions, ascertain what the Parties agreed to do and require those

things to be done.

          24.   Specifically, the Service Order provides that its “duration” is “7 years from satellite

OSD [Operational Service Date] with 3-year ramp-up in volume” and that the satellite’s “Expected

In Service Date” is April 2023. See Ex. A (Service Order).

          25.   The Service Order provides the total capacity, with respect to both HTS and Global

Spots, that Defendant agreed to purchase over a seven-year period. See id.

          26.   The Service Order provides the price per month that Defendant agreed to pay in

exchange for that capacity over a seven-year period. See id.

          27.   And the Service Order provides the annual service fee (the product of capacity,

price per capacity per month, and twelve months) that Defendant agreed to pay in exchange for

that capacity over a seven-year period. See id.

          28.   Finally, the Service Order sets forth several other terms relating to Eutelsat’s


    11
       A link budget is an account of the various power gains and losses between a transmitter and a receiver
in a telecommunication system. It is the main basis to establish between the Parties future link performance
and associated parameters, including terminal requirements and beam performance.



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provision, and Defendant’s purchase, of satellite capacity, including with respect to gateway fees,

portability between satellites, portability of global spots, and interim satellite capacity. See id.

       29.     Accordingly, the essential terms of the Service Order—duration, services to be

rendered, and pricing/fees—are sufficiently definite that the Court can ascertain what the Parties

agreed to do—i.e., Eutelsat to provide and Defendant to purchase satellite capacity for a period of

seven years—and, thus, enforce their promises.

       30.     Although the Service Order also provides that “[o]ther terms (incl. [Service Level

Agreements (“SLA”)], service credit, restoration, etc.) shall be further negotiated between the

parties,” see id., these “other terms” were intended to cover non-material items, which would be

memorialized in a separate agreement. The Parties made their intent with respect to these “other,”

non-material terms clear by, among other things, expressly providing that the “[t]erms in this

[Service Order] are binding between the parties.” See id.

               2.        The Service Order Manifests a Clear Intent To Be Bound by the
                         Parties’ Agreement

       31.     The Service Order also demonstrates a meeting of the minds or mutual assent to the

terms of the contract.

       32.     The Service Order expressly provides that its terms “are binding between the

parties” and is initialed and signed by the Parties’ representatives. See id.

       33.     The Service Order provides that Board approval is a condition precedent to

performance, see id., and the Parties did, ultimately, obtain the requisite Board approvals.

       34.     Specifically, on October 2, 2019 Defendant’s Senior Director for Satellite

Engineering emailed Eutelsat: “We have received Board approval for the E10X agreement we

signed last week” (emphasis added).

       35.     And, on October 7, 2019, Eutelsat’s Board of Directors approved the procurement




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of the E10B satellite.

       36.     Eutelsat would only procure the E10B satellite if it entered into a binding agreement

with Defendant for the purchase of capacity on the satellite. Accordingly, Eutelsat postponed

related discussions with its own Board of Directors until after the Parties executed the Service

Order and the Service Order was approved by Defendant’s Board of Directors. Indeed, during the

Parties’ negotiations, Eutelsat made clear to Defendant that it would need a binding commitment

from Defendant before approaching its Board of Directors about the procurement of E10B.

               3.        The Parties’ Public Statements Manifest a Clear Intent To Be Bound
                         by the Parties’ Agreement

       37.     On or about October 29, 2019, Defendant announced its entry into the Service

Order—what Defendant itself referred to as “a new satellite capacity agreement for high-speed

inflight connectivity services.” See Ex. B (Press Release) at 1 (emphasis added). According to

Defendant, “Gogo has leased HTS bandwidth on [the E10B] satellite, to be leveraged over Europe

and the Middle East.” See id.

       38.     Gogo’s then president and CEO Oakleigh Thorne, who initialed and signed the

Service Order, stated: “We are advancing capacity capabilities given the growing demand for high-

speed inflight connectivity services.” See id. He continued: “Through our partnership with

Eutelsat, Gogo 2Ku will continue to enable the best passenger experience for global airlines.” See

id. (emphasis added).

       39.     Eutelsat’s then Chief Commercial Officer Philippe Oliva stated: “We are thrilled

about our ongoing relationship with Gogo, a long-standing partner and a leading provider for

inflight connectivity.” See id. at 2. He continued: “This agreement highlights the relevance of

our newly ordered Eutelsat 10B for inflight connectivity and we look forward to supporting Gogo

as they increase capacity in Europe and the Middle East to provide the best services to their airline




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partners.” See id. (emphasis added).

           40.    On or about November 7, 2019, Defendant held a conference call to discuss its

financial results for the third quarter of 2019. See Ex. C (Earnings Call Transcript) at 2. During

the call, a research analyst for Roth Capital Partners remarked that Defendant had been “working

hard to go back, renegotiate, expand the footprint to give [Defendant] some diversity and reliability

and backup in terms of satellite failures.” Id. at 12. The analyst then asked “how some of

[Defendant’s] contract renegotiations get feathered into [Defendant’s] Satcom costs, particularly

on the international front, where utilization is a lot lower, just given the number of aircraft that are

currently live.” Id. at 12. Thorne responded:

           Well, let’s start with the renewals. I mean, when we’re renewing now, first of all,
           we’re not . . . renewing on the same satellite. We’re committing to a new satellite,
           like we did with EUTELSAT 10B, which was announced, I think, last week. And
           those new satellites are at a much lower unit cost than the contracts that are rolling
           off, dramatically lower. So those are improving our economics in Rest of World.
           And that’s going to be one of the major drivers towards profitability in that division.

Id. (emphasis added). Later in the call, Defendant’s CFO Barry Rowan reiterated: “you also saw

the announcement that we made about EUTELSAT for capacity over that region. So that also

helps as current contracts come off and we’re able to deploy that 10B satellite at attractive pricing.”

Id.

           D.     The E10B Satellite

           41.    In or around October 2019, in reliance upon the terms of the Service Order, Eutelsat

signed a letter of agreement with Thales for the procurement of E10B12 and directed Thales to

build the satellite to specifications that would allow Gogo to achieve its objectives discussed

during negotiations.


      12
      See Press Release, Thales, “Thales Alenia Space to Build Eutelsat 10B Satellite for Inflight and
Maritime Connectivity Services” (Oct. 29, 2019), available at https://www.thalesgroup.com/
en/worldwide/space/press_Release/thales-alenia-space-build-eutelsat-10b-satellite-inflight-and.



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         42.    The E10B satellite was based on the Spacebus NEO Thales Alenia Space product

line and would address HTS missions over Europe, the Mediterranean basin, and the Middle East,

as well as over the Atlantic Ocean, Africa, and the Indian Ocean.13 E10B would be located at 10°E

for a lifespan of at least fifteen years.14

         43.    Two of E10B’s payloads (i.e., modules carried on the satellite with the ability to

perform certain functionalities) would provide timely continuity of services on Eutelsat 10A.15

The HTS missions would allow Eutelsat to deliver high capacity Ku Band mobility services in the

aviation and maritime sectors.16 The missions would be supported by a digital 14kW multi-beam

digital payload allowing dynamic service allocation, essential to provide extensive flexibility and

strength in the face of potential market changes.17

         44.    E10B’s HTS connectivity was conceived of and developed in close collaboration

with Defendant in order to satisfy Defendant’s specific needs. Indeed, as further set forth below,

see infra at ¶¶ 49-54, Eutelsat worked jointly with Defendant on a spot-by-spot basis, using and

applying the specific technical data provided by Defendant and defining the payload frequency

plan on the basis thereof.

         45.    As Eutelsat’s Director of Fleet and Capacity Planning stated in a March 2020 email

to Gogo’s Senior Manager of Satellite Network Engineering: “[T]he E10B satellite has been

ordered as per the signed Service Order, but it has also been designed and optimized considering

the capacity request shared by Gogo in our previous exchanges[.]”




    13
       Id.
    14
       Id.
    15
       Id.
    16
       Id.
    17
       Id.



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        E.      Intelsat and Its Chapter 11 Cases

        46.     Intelsat operates one of the world’s largest satellite services businesses and provides

communications services to media companies, fixed and wireless telecommunications operators,

data networking service providers, multinational corporations, and Internet Service Providers.18

Intelsat is also the leading provider of commercial satellite communication services to the U.S.

government and other military organizations and their contractors.19             Generally, Intelsat’s

customers need the specialized connectivity that satellites provide to pursue their mission.20 In

recent years, mobility services providers have contracted for services on Intelsat’s fleet of satellites

that support broadband connections for passengers on commercial flights, cruise ships and

commercial shipping, connectivity that in some cases is only available through a satellite

network.21

        47.     On May 13, 2020, Intelsat and certain of its subsidiaries commenced voluntary

cases (the “Chapter 11 Cases”) under title 11 of the United States Code in the United States

District Court for the Eastern District of Virginia (the “Bankruptcy Court”).22 According to

Intelsat’s public filings, the “[p]rimary factors causing [Intelsat] to file for Chapter 11 protection

included the Company’s intention to participate in the accelerated clearing process of C-band

spectrum set forth in the U.S. [FCC’s] March 3, 2020 final order . . . , requiring the Company to

incur significant costs related to clearing activities well in advance of receiving reimbursement for

such costs and the need for additional financing to fund the C-band clearing process, service [its]

current debt obligations, and meet [its] operating requirements, as well as the economic slowdown


   18
      Intelsat 10-Q at 33.
   19
      Id.
   20
      Id.
   21
      Id.
   22
      Id.



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impacting the Company and several of its end markets due to the [COVID-19] pandemic.”23

        48.        On August 31, 2020, following approval from the Bankruptcy Court, Intelsat

Jackson Holdings S.A. (a subsidiary of Intelsat) and Gogo Inc. entered into the PSA under which

Intelsat Jackson Holdings S.A. purchased Defendant for $400 million in cash.24 Again, according

to Intelsat’s public filings, the transaction was intended to “further propel[] [Intelsat’s] efforts in

the growing commercial IFC market, pairing [its] high-capacity global satellite and ground

network with Gogo’s installed base of more than 3,000 commercial aircraft to redefine the

connectivity experience.”25 The Sale Transaction closed on December 1, 2020.26 Upon closing,

Defendant became an indirect wholly-owned subsidiary of Intelsat.27

        F.         The Parties’ Discussions Following Execution of the Service Order

        49.        After the Parties executed the Service Order on or about September 26, 2019, they

engaged in discussion and correspondence to begin implementing the terms of the Service Order,

including with respect to management of E10B’s bandwidth and power resources and traffic

density management. On October 2, 2019, for example, the Parties held a meeting in Chicago,

Illinois to discuss these subjects, among others, and to exchange Eutelsat’s first draft of the E10B

technical annex for Defendant’s review. Minutes of that meeting indicate that the meeting was

intended to “follow-up the agreed key commercial terms for capacity on E10[B] as well as other

topics,” “including respective temporary capacity to ramp-up in the coming 3 years for . . .

E10[B].” At the close of the meeting, the Parties agreed upon a series of “next practical steps,”

including an exchange of data between the Parties and planned quarterly meetings.


   23
      Id.
   24
      Id. at 34.
   25
      Id.
   26
      Id.
   27
      Id. at 15.



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       50.     After the October 2019 meeting in Chicago, the Parties’ engineering teams

continued to engage in discussion and correspondence concerning E10B’s performance and

capabilities. Additionally, the Parties’ commercial teams began to discuss the non-material terms

that would take shape in a separate contract between the Parties.

       51.     On November 20, 2019, Eutelsat’s Deputy General Counsel transmitted a draft

framework agreement to Defendant’s Senior Vice President and Assistant General Counsel (the

“Draft Framework Agreement,” a true and correct copy of which is attached hereto as Exhibit

E). The Draft Framework Agreement references the Service Order and incorporates by reference

the terms and conditions of the MSA. See Ex. E (Draft Framework Agreement) at Recitals and

§§ 1.2, 1.3(a). The MSA sets forth various non-material terms, including but not limited to terms

relating to use restrictions, technical escalation, conditions for use, interruption of services,

intellectual property, termination, force majeure, notices, licenses, confidentiality, privacy,

assignment, representations and warranties, and governing law and jurisdiction. See generally Ex.

D (MSA).     The Draft Framework Agreement was intended to amend certain non-material

provisions of the MSA (which, again, Defendant had already agreed to and executed), including

terms relating to service charges (which would be as defined in the Service Order), effective date

and duration, personal data, and governing law and jurisdiction. See Ex. E (Draft Framework

Agreement) §§ 1.3(a)-(d).

       52.     On or about January 23, 2020, the Parties finalized and signed the E10B satellite

specification. Eutelsat began working to update the E10B technical annex accordingly. On

February 26, 2020, Eutelsat transmitted the updated technical annex to Defendant. The updated

technical annex was based on the Parties’ previous discussions and described in greater detail the

satellite’s performance, including additional information related to the global spots’ exact location




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and size, beam association, and capacity allocation.

       53.     On March 5, 2020, Defendant responded with questions concerning the technical

annex, including how Eutelsat would handle a request from Defendant for additional capacity.

Eutelsat’s Director of Fleet and Capacity Planning responded to Gogo’s Senior Manager of

Satellite Network Engineering on March 6, 2020: “Regarding your request for additional capacity,

the E10B satellite has been ordered as per the signed Service Order, but it has also been designed

and optimized considering the capacity request shared by Gogo in our previous exchanges, which

means that in case you would need additional resources to the one mentioned in the Service Order

this can be discussed separately and defined jointly.” On March 13, 2020, Defendant indicated

that it was working on its projection model and would revert to Eutelsat once it had completed that

analysis. Defendant never did.

       54.     Also on March 5, 2020, Eutelsat’s Deputy General Counsel followed up with

Defendant’s Associate General Counsel concerning the Draft Framework Agreement and

requested that Defendant revert to Eutelsat with comments. Defendant never did.

       G.      Defendant’s Anticipatory Breach of the Service Order

       55.     Less than two months after the Sale Transaction closed, on or about January 19,

2021, David Tolley, the EVP and Chief Financial Officer of Intelsat US LLC, sent a letter to

Philippe Oliva regarding a purported “Term Sheet for Capacity on E10B.” See Jan. 19, 2021 Letter

from D. Tolley to P. Oliva Re: “Term Sheet for Capacity on E10B” (the “January 19 Letter”), a

true and correct copy of which is attached hereto as Exhibit F.

       56.     Tolley stated that, “[o]ver the past month, [Defendant] and its new owners reviewed

all commercial discussions-in-progress at the time of the closing, including” what Tolley

disingenuously referred to as “a certain undated term sheet for the potential lease of capacity on

E10B that was signed sometime in 2019 (the ‘Term Sheet’).” See Ex. F.



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        57.     Tolley continued: “Please be advised that we do not intend to pursue a definitive

agreement for capacity on E10B as described in the Term Sheet.” See id.

        58.     The January 19 Letter constituted a definite and unequivocal statement by

Defendant that it would not perform under the terms of the Service Order and manifested

Defendant’s clear intent not to perform.

        59.     On February 8, 2021, counsel for Eutelsat responded to Tolley and set forth

Eutelsat’s position that “there can be no question that the [Service Order] is an enforceable

contract,” since, inter alia:

        a.      Defendant agreed under the Service Order to purchase capacity on E10B for a term

of seven years and to pay Eutelsat $150 million in volume-based service fees over the course of

that seven-year term;

        b.      the Service Order states that its terms are “are binding between the parties,” is

executed by both parties, and was followed by the requisite approval of both parties’ Boards; and

        c.      Defendant itself recognized, at the time the parties executed the Service Order, that

it had entered into a multi-year “satellite capacity agreement for high-speed inflight connectivity

services.”

        60.     Counsel further stated that Defendant’s refusal to abide by the terms of the

agreement, as set forth in the January 19 Letter, constituted an anticipatory repudiation of the

Service Order which gave rise to a claim for damages for total breach of contract.

        61.     On March 31, 2021, counsel for Defendant responded and reiterated Defendant’s

refusal to perform under the terms of the Service Order and again manifested Defendant’s clear

intent not to perform.

        H.      Eutelsat’s Diligent Attempts to Mitigate Its Losses

        62.     After receiving the January 19 Letter, Eutelsat began efforts to mitigate the



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damages caused by Defendant’s repudiation of the Service Order, including by attempting to sell

segments of E10B’s capacity to other companies and transferring customers already leasing

capacity on Eutelsat’s existing satellites to E10B.

       63.     Notwithstanding these diligent efforts to sell the remaining capacity on E10B to

other buyers, a significant portion of E10B’s HTS capacity remains unsold.

V.     CAUSES OF ACTION

                                     COUNT I
                         ANTICIPATORY BREACH OF CONTRACT

       64.     Eutelsat repeats and incorporates the allegations in Paragraphs 1 through 63 above

as though fully set forth herein.

       65.     As detailed above, the Service Order constitutes a valid and enforceable contract

between Eutelsat and Defendant.

       66.     Defendant anticipatorily breached the Service Order when it clearly and

unequivocally advised Eutelsat on or about January 19, 2021 that “we do not intend to pursue a

definitive agreement for capacity on E10B as described in the Term Sheet.”

       67.     The January 19 Letter constituted a definite and unequivocal statement by

Defendant that it would not perform under the terms of the Service Order and therefore manifested

Defendant’s clear intent not to perform.

       68.     As a direct and proximate result of Defendant’s anticipatory breach of the Service

Order, Eutelsat has suffered at least $150 million damages.

       69.     In view of the foregoing, Eutelsat is entitled to damages from Defendant in an

amount to be determined at trial, but not less than $150 million, plus consequential and incidental

damages.




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                             COUNT II (IN THE ALTERNATIVE)
                                PROMISSORY ESTOPPEL

       70.     Eutelsat repeats and incorporates the allegations in Paragraphs 1 through 69 above

as though fully set forth herein.

       71.     Eutelsat understands that Defendant’s position, developed only after it was

acquired by Intelsat, is that the Service Order is not a valid and enforceable contract, which Eutelsat

disputes.

       72.     However, even if the Service Order does not constitute a valid and enforceable

contract between Eutelsat and Defendant, on or about September 26, 2019, Defendant

unambiguously promised to purchase capacity on the to-be-commissioned E10B satellite for a

term of seven years and to pay Eutelsat $150 million in volume-based service fees over the course

of that seven-year term.

       73.     Eutelsat reasonably relied to its detriment upon Defendant’s promise, including,

without limitation, by procuring the E10B satellite.

       74.     Eutelsat’s reliance was expected and foreseeable, including, without limitation,

because representatives of Eutelsat stated, during the Parties’ negotiations, that Eutelsat would

design E10B to Defendant’s specifications and that Eutelsat would need a binding commitment

from Defendant before approaching its Board of Directors about the procurement of E10B.

       75.     As a direct and proximate result of Defendant’s breach of its promise, Eutelsat has

suffered damages in an amount to be determined at trial.

                       COUNT III (IN THE ALTERNATIVE)
            BREACH OF THE OBLIGATION TO NEGOTIATE IN GOOD FAITH

       76.     Eutelsat repeats and incorporates the allegations in Paragraphs 1 through 75 above

as though fully set forth herein.




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       77.     Eutelsat understands that Defendant’s position, developed only after it was

acquired by Intelsat, is that the Service Order is not a valid and enforceable contract, which Eutelsat

disputes.

       78.     However, even if the Service Order does not constitute a valid and enforceable

contract between Eutelsat and Defendant, the Service Order, which expressly provides that

“[o]ther terms (incl. SLA, service credit, restoration, etc.) shall be further negotiated between the

parties,” constitutes a mutually binding obligation to negotiate the non-material terms of the

Service Order in good faith.

       79.     Eutelsat satisfied its obligation to negotiate the “other,” non-material terms of the

Service Order in good faith, negotiating with Defendant in an effort to arrive at agreement with

respect to those non-material terms and preparing and transmitting to Defendant the Draft

Framework Agreement (based upon the MSA which Defendant had already agreed to and signed)

reflecting those non-material terms.

       80.     Defendant breached its obligation under the Service Order to negotiate in good

faith, including, without limitation, by failing to respond to or comment on the Draft Framework

Agreement and by unilaterally terminating negotiations with Eutelsat because, on information and

belief, Intelsat planned for Defendant to purchase capacity on Intelsat’s own satellites.

       81.     But for Defendant’s bad faith, the Parties would have made a final contract, and the

loss of the benefit of that contract is a consequence of Defendant’s bad faith.

       82.     Accordingly, as a direct and proximate result of Defendant’s breach of its obligation

under the Service Order to negotiate in good faith, Eutelsat suffered damages in an amount to be

determined at trial.




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                                    PRAYER FOR RELIEF

       WHEREFORE, Eutelsat respectfully requests that this Court enter judgment in its favor

and against Defendant as follows:

       a.      Awarding Eutelsat a money judgment in the amount of not less than $150 million;

       b.      Awarding Eutelsat any additional damages incurred by Eutelsat in an amount to be

determined at trial; and

       c.      Awarding Eutelsat such other and further relief as the Court deems just and proper.


Dated: September 7, 2022                Respectfully submitted,

                                        /s/ Lynn H. Murray
                                        SHOOK, HARDY & BACON LLP
                                        Lynn H. Murray (IBN 6191802)
                                        lhmurray@shb.com
                                        111 S. Wacker Dr., Suite 4700
                                        Chicago, IL 60606
                                        Telephone: (312) 704-7700
                                        Fax: (312) 558-1195

                                        David J. Lender (pro hac vice forthcoming)
                                        Jennifer Brooks Crozier (pro hac vice forthcoming)
                                        WEIL, GOTSHAL & MANGES LLP
                                        767 Fifth Avenue
                                        New York, New York 10153
                                        Tel. (212) 310-8000
                                        Fax (212) 310-8007
                                        david.lender@weil.com
                                        jennifer.crozier@weil.com

                                        Attorneys for Plaintiff
                                        Eutelsat S.A.




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                   Exhibit A
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                   Exhibit B
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   Press Releases

      Gogo Meets Significant Inflight Connectivity Demand through                                                               Share:

      Deal with Eutelsat
      Increases Ku capacity over Europe and the Middle East
      Oct 29, 2019
      PARIS and CHICAGO, Oct. 29, 2019 /PRNewswire (http://www.prnewswire.com/)/ -- Gogo
      (NASDAQ: GOGO), a leading global provider of broadband connectivity products and services for
      aviation, together with Eutelsat Communications (Euronext Paris: ETL), one of the world's
      leading satellite operators, announced today a new satellite capacity agreement for high-speed
      inflight connectivity services. As part of the new multi-year agreement, Gogo has leased HTS
      bandwidth on EUTELSAT 10B satellite, to be leveraged over Europe and the Middle East. The
      new satellite is set to launch in 2022.

      "We are advancing capacity capabilities given the growing demand for high-speed inflight
      connectivity services," said Oakleigh Thorne, president and CEO of Gogo. "Through our
      partnership with Eutelsat, Gogo 2Ku will continue to enable the best passenger experience for
      global airlines."




https://gogoair.mediaroom.com/2019-10-29-Gogo-Meets-Significant-Inflight-Connectivity-Demand-through-Deal-with-Eutelsat                  1/5
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      "We are thrilled about our ongoing
      relationship with Gogo, a long-
      standing partner and a leading
      provider for inflight connectivity,"
      said Philippe Oliva, Eutelsat's Chief
      Commercial Officer. "This
      agreement highlights the relevance
      of our newly ordered EUTELSAT 10B
      for inflight connectivity and we look
      forward to supporting Gogo as they
      increase capacity in Europe and the
      Middle East to provide the best services to their airline partners."

      About Gogo
      Gogo is the Inflight Internet Company. We are the leading global provider of broadband
      connectivity products and services for aviation. We design and source innovative network
      solutions that connect aircraft to the Internet and develop software and platforms that enable
      customizable solutions for and by our aviation partners. Once connected, we provide industry
      leading reliability around the world. Our mission is to help aviation go farther by making planes
      fly smarter, so our aviation partners perform better and their passengers travel happier.

      You can find Gogo's products and services on thousands of aircraft operated by the leading
      global commercial airlines and thousands of private aircraft, including those of the largest
      fractional ownership operators. Gogo is headquartered in Chicago, IL with additional facilities
      in Broomfield, CO and locations across the globe. Connect with us at gogoair.com
      (https://c212.net/c/link/?t=0&l=en&o=2625025-
      1&h=927512773&u=http%3A%2F%2Fgogoair.com%2F&a=gogoair.com).

        Media Relations Contact:                                                 Investor Relations Contact:
        Dave Mellin                                                              William Davis
       +1 720-840-4788                                      +1 312-517-5725
       dmellin@gogoair.com                                  ir@gogoair.com
       (mailto:dmellin@gogoair.com)                         (mailto:ir@gogoair.com)
      Cautionary Note Regarding Forward-Looking Statements
      Certain disclosures in this press release include "forward-looking statements" that are based
      on management's beliefs and assumptions and on information currently available to
      management. Most forward-looking statements contain words that identify them as forward-
      looking, such as "anticipates," "believes," "continues," "could," "seeks," "estimates," "expects,"
      "intends," "may," "plans," "potential," "predicts," "projects," "should," "will," "would" or similar
      expressions and the negatives of those terms that relate to future events. You are cautioned not
      to place undue reliance on these forward-looking statements, which speak only as of the date of

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      this press release and Gogo undertakes no obligation to update or revise publicly any such
      forward-looking statements, whether as a result of new information, future events or
      otherwise. These forward-looking statements are based on estimates and assumptions by our
      management that, although we believe to be reasonable, are inherently uncertain. Important
      factors that could cause actual results, developments and business decisions to differ
      materially from these forward-looking statements include the uncertainties described under
      the heading "Risk Factors" in the Company's Annual Report on Form 10-K filed with
      the SEC on February 22, 2019 and Quarterly Report on Form 10-Q filed with the SEC on August
      8, 2019.

      About Eutelsat Communications
      Founded in 1977, Eutelsat Communications is one of the world's leading satellite operators.
      With a global fleet of satellites and associated ground infrastructure, Eutelsat enables clients
      across Video, Data, Government, Fixed and Mobile Broadband markets to communicate
      effectively to their customers, irrespective of their location. Over 7,000 television channels
      operated by leading media groups are broadcast by Eutelsat to one billion viewers equipped for
      DTH reception or connected to terrestrial networks. Headquartered in Paris, with offices and
      teleports around the globe, Eutelsat assembles 1,000 men and women from 46 countries who
      are dedicated to delivering the highest quality of service. For more about Eutelsat go to
      www.eutelsat.com (https://c212.net/c/link/?t=0&l=en&o=2625025-
      1&h=3384598988&u=http%3A%2F%2Fwww.eutelsat.com%2F&a=www.eutelsat.com)

        Media
        Marie-Sophie                Tel.: + 33 1 53 98 37          mecuer@eutelsat.com
        Ecuer                       91                             (mailto:mecuer@eutelsat.com)
                                    Tel.: + 33 1 53 98 37
        Jessica Whyte               91                             jwhyte@eutelsat.com (mailto:jwhyte@eutelsat.com)
        Investors
        Joanna                      Tel.: +33 1 53 98 35           jdarlington@eutelsat.com
        Darlington                  30                             (mailto:jdarlington@eutelsat.com)
                                    Tel.: +33 1 53 98 35           cpugni@eutelsat.com (mailto:cpugni@eutelsat.com)
        Cédric Pugni                30
        Alexandre                   Tel.: +33 1 53 98 35           aenjalbert@eutelsat.com
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       THOMSON REUTERS STREETEVENTS
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       GOGO - Q3 2019 Gogo Inc Earnings Call

       EVENT DATE/TIME: NOVEMBER 07, 2019 / 1:30PM GMT




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CORPORATE PARTICIPANTS
Barry L. Rowan Gogo Inc. - CFO & Executive VP
Oakleigh B. Thorne Gogo Inc. - President, CEO & Director
William G. Davis Gogo Inc. - VP of IR


CONFERENCE CALL PARTICIPANTS
Gregory Thomas Gibas Northland Capital Markets, Research Division - VP & Senior Research Analyst
Lance William Vitanza Cowen and Company, LLC, Research Division - MD & Cross-Cap Structure Analyst
Landon Hoffman Park Morgan Stanley, Research Division - Research Associate
Louie DiPalma William Blair & Company L.L.C., Research Division - Analyst
Philip A. Cusick JP Morgan Chase & Co, Research Division - MD and Senior Analyst
Richard Hamilton Prentiss Raymond James & Associates, Inc., Research Division - Head of Telecommunication Services Equity Research
Scott Wallace Searle Roth Capital Partners, LLC, Research Division - MD & Senior Research Analyst


PRESENTATION
Operator
Ladies and gentlemen, thank you for standing by. And welcome to the Q3 2019 Gogo, Inc. Earnings Conference Call. (Operator Instructions) Please
be advised that today's conference call may be recorded. (Operator Instructions)

I would now like to hand the conference over to your speaker today, Mr. Will Davis, Vice President or Investor Relations. Sir, please go ahead.


William G. Davis - Gogo Inc. - VP of IR
Thank you, and good morning, everyone. Welcome to Gogo's Third Quarter 2019 Earnings Conference Call. Joining me today to talk about our
results are Oakleigh Thorne, President and CEO; and Barry Rowan, Executive Vice President and CFO.

Before we get started, I would like to take this opportunity to remind you that during the course of this call, we may make forward-looking statements
regarding future events and the future financial performance of the company. We caution you to consider the risk factors that could cause actual
results to differ materially from those in the forward-looking statements on this conference call. These risk factors are described in our press release
filed this morning and are more fully detailed under the caption Risk Factors in our annual report on Form 10-K and 10-Q and other documents we
have filed with the SEC.

In addition, please note that the date of this conference call is November 7, 2019. Any forward-looking statements that we make today are based
on assumptions as of this date. We undertake no obligation to update these statements as a result of new information or future events.

During the call, we will present both GAAP and non-GAAP financial measures. We include a reconciliation and explanation of adjustments and
other considerations of our non-GAAP measures to the most comparable GAAP measures in our third quarter earnings press release.

This call is being broadcast on the Internet and available on the Investor Relations section of Gogo's website at ir.gogoair.com. The earnings press
release is also available on the website. After management comments, we will host a Q&A session with the financial community only.

It is now my great pleasure to turn the call over to Oakleigh.


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Oakleigh B. Thorne - Gogo Inc. - President, CEO & Director
Thanks, Will. Good morning, and welcome to our Q3 2019 Earnings Call.

We're pleased to announce a very strong quarter, with adjusted EBITDA and free cash flow well above our expectations. Though, as we predicted
on our last call, service revenue was down as a result of the final American Airlines deinstalls and conversions in turnkey to the airline directed
model.

Though we're not happy about that decline in revenue, it's worth noting that underlying growth has made up for a lot of that loss. We achieved
$158 million of service revenue in Q3 this year, which is right about where service revenue stood. [In quarter], the deinstall program began in
earnest in early 2018. I'm also pleased that despite having an extra interest payment in the year, we remain on target to improve free cash flow by
$100 million over the prior year.

I'll leave the rest of the numbers to Barry and now move on to some of the operational aspects of the business. And then I'll turn to strategy.

It goes without saying that these are very exciting times at Gogo as we scaled our operations in support of Delta Airlines' desire to provide free
internet service to its passengers, as we make great progress on our Gogo 5G product initiative and as we work with our satellite partners on new
and exciting ways to serve the aero IFC market. It's also exciting to see a nice bounce back on our Business Aviation division, as OEMs made some
nice catch-up orders in the quarter and some of the ADS-B congestion cleared up in the aftermarket.

And perhaps most exciting. Today, we expect to sign a contract with a very prestigious EMEA airline, install Gogo 2Ku and live TV on a significant
portion of their wide-body fleet. A formal announcement will be forthcoming. But needless to say, I'm happy to get Gogo back in the wind tunnel.

I'm very proud of my Gogo teammates for delivering such a great quarter. We've worked hard over the past year to improve our operations, execute
on our strategy and achieve our financial goals. And I think we're making great progress. So thank you.

Let me touch on strategy for a minute. And then I'll turn to our three business segments to discuss some operational aspects of the quarter.

Strategic front. Today, I'd like to talk about our network strategy. We believe that the market for and revenue from the connected aircraft is poised
for accelerating growth as airlines increasingly look at providing free IFE to passengers, as the aviation ecosystem looks for cheaper and faster ways
to access operational data. Our strategy is to take advantage of this explosion in demand by positioning ourselves as the provider of the most
trusted broadband communication systems in the aviation ecosystem. Today, we serve that market with two network solutions: the Ku satellite
network and air-to-ground network.

In the satellite world, we pursue an open architecture asset-light operating model. Today, we work with 11 satellite providers and use 33 satellites
to create and manage a seamless near-global network. Though we're band agnostic, today we operate in the Ku-band because there are hundreds
of Ku satellites. And we can layer capability where it's needed, we can scale as demand grows and we can provide more redundancies in closed Ka
constellations.

I want to highlight the importance of redundancy for just a second. In the last 8 months, three important satellites have failed on orbit or on launch.
With the loss of Intelsat 29E this year, Ku supply in [conus] is tight. The Ku service providers have still been able to serve their customers by utilizing
other Ku satellites. In contrast, if they were on a three-satellite closed Ka system, the networks for one-third of the world would be dead to their
airline customers for an extended period of time.

The satellite world is going through a tremendous amount of change. And our asset-light model gives us the flexibility to harness that change to
do what is best for our customers. We see the costs of satellites coming way down, as manufacturers apply assembly line techniques to satellite
manufacturing and as innovation in the launch sector drives down launch costs. That enables satellite operators to get more bang for their CapEx
bucks and lower the unit price they charge service providers like Gogo.



                                                                                                                                                               3

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New software-defined payloads will improve capacity utilization, both for operators and for service providers like Gogo, further driving down our
unit costs. The advent of LEO or NEO constellations should give us the ability to drive down latency, which will improve the user experience in our
customers' aircraft and provide truly global coverage.

Finally, we've always said that we were band agnostic. And with the arrival of more open Ka capacity, we're getting the chance to prove that. And
we've actually started pitching regional Ka solutions where appropriate. We'll have more to say on that in the future.

Our satellite partners are talking to us about all of these opportunities, because we're a very attractive partner. IFC is the fastest-growing market
segment for satellite operators, and we're the largest player in the IFC space. So if you want to play in this segment, you want Gogo as a partner.
Given all that change, we want to be nimble, take advantage of the best of what our satellite partners have to offer to deliver the best experience
for the dollar to our airline and business jet owners.

Now let me turn to our air-to-ground network. Starting more than 25 years ago, Gogo pioneered air-to-ground networks for aviation. Today, our
ATG 4G network supports more than 5,500 business aircraft and more than 1,500 commercial aircraft. Our competitive advantages in ATG are our
proprietary 4 MHz of spectrum, our deep knowledge of how to build ATG networks and our portfolio of intellectual property. We've built three
ATG networks and are now building our fourth, Gogo 5G.

We just announced our three strategic partners in making the new network come to life: Cisco, Airspan Networks and First RF Corp; all leading
U.S.-based providers of wireless network technology. We'll be building our network on 5G standards and be able to deliver higher throughput and
lower latency for a better passenger experience than potential competitive offerings. We'll also be bonding our 4 MHz of licensed spectrum with
60 MHz of unlicensed spectrum to provide more bandwidth than our classic ATG products without sacrificing the resiliency that licensed spectrum
provides.

We're starting to talk about 5G to airlines for regional fleets and even some mainline fleets. And we're talking to business aviation owners, operators
and dealers about 5G for their business aircraft. And so far, we're getting a very positive response. We remain on track to deliver this product in
2021 and are very excited about the value it could create for our company and our partners.

Now let me turn back to the quarter. As I said earlier, we had strong results, though we want to be cautious about Q4 . The American deinstalls and
AD conversion will continue to be a drag on revenue versus prior year. Satellite expense will increase as more 2K aircraft come online, as usage
grows and as we ramp in anticipation of significantly more demand in 2020. And we expect to incur increased investments in key programs like
line-fit and Gogo 5G. Some of these headwinds and others will persist in 2020. And Barry will discuss those in his comments.

As for our segment results. Let me start with the star of the quarter, our BA division. Before I even get into the operational metrics, I want to talk
about the National Business Aviation Association show I attended in Las Vegas 2 weeks ago. We announced our 5G partners, we had a great panel
discussion, and our booth was packed all week. It's a real pleasure to talk to our BA customers. They love our products, whether they have AVANCE
or the classic products. And they love our service, which is testimony to our great Business Aviation team.

BA achieved record revenue of 11% over prior year, record segment profit and record aircraft online for the quarter. Equipment revenue significantly
outperformed expectations due to AVANCE sales in both the OEM and aftermarket channels. OEM sales were driven by some nice catch-up orders
for AVANCE L5. And aftermarket sales improved as some of the ADS-B congestion began to subside at the large dealers. We still expect to see some
ADS-B-related drag on aftermarket sales through the second quarter of next year. But it's nice to see the logjam start to break.

As a result of these trends, we're raising our previously revised 2019 revenue guidance for BA to the high end of the $290 million to $300 million
range we shared last quarter. Our BA division continued to exercise strong expense control in the quarter and is expected to hit their cash flow
target for the year despite the weak sales it experienced in the first half.

BA ATG installed plane count grew to 5,527, up 508 aircraft or 10% from Q3 2018; and increased by 65 aircraft from Q2 this year. Even more
encouraging, we shipped 293 ATG units in the quarter, almost as high as the record 296 ATG units shipped in Q3 last year.



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Service ARPU for ATG units grew to $3,087 per month, up 2.6% from $3,008 per month in Q3 2018. We're now up to seven OEMs that have cut
AVANCE into line-fit and expect two more in 2020, which bodes well for future equipment sales.

We think our Business Aviation division is a great business. It addresses a large underpenetrated market, it has an exciting new product pipeline,
it provides a resilient recurring service revenue stream, and it exhibits nice operating leverage because of the low fixed cost nature of our proprietary
ATG network.

Now let me make a few comments on the combined CA segments and then dive into the Rest of World and North American segments separately.
I'll start with some good news, which is that our 2Ku product is operating well, with record net promoter scores at customers that provide us with
NPS numbers. NPS scores have also improved nicely for our ATG network, as traffic has been offloaded to our satellite network. And in fact, at one
customer, our ATG NPS beat some of our competitors' satellite NPS scores.

We're also proud that Delta Airlines, who exclusively uses Gogo for WiFi in their aircraft, won the prestigious APEX Passenger Choice Award for
best WiFi, voted on by 1.4 million passengers, beating JetBlue, who won the year before and is supplied by a competitor.

Also on the positive side, we continue to make progress in supporting Delta Airlines in their announced intention to bring free WiFi to their passenger
base. We're very excited about this endeavor. However, we'll leave it to Delta to announce their plans for what and when they plan to roll out.

Turning to CA combined revenue. As we discussed in our Q2 call, Q3 was the first quarter to suffer the full impact of the American Airlines deinstalls
and transition from the turnkey model to the airline-directed model. In total, these changes created a $100 million hole in our service revenue from
when the deinstalls started early 2018, which we've been able to largely offset by growth at our other airlines and in our Business Aviation division.

Costs remained in check at CA this quarter, and we got some benefit from positive equipment margin as well. We now expect growth in aircraft
online at our combined CA segments throughout our planning horizon and feel that the CA segments will return to revenue growth in 2020.

The end of the quarter, we had almost 1,302 Ku aircraft online, a net increase of 73 with another 845 in backlog. 62% of our 2Ku backlog is in Rest
of World, which represents great new revenue potential. And 38% is in North America, which are mostly ATG upgrades and represent an opportunity
for increased ARPA as they move to faster 2Ku service.

Take rates grew slightly in CA-NA over prior year and were down slightly in CA-Rest of World due to new fleet installations. The combined profits
of the CA segments was slightly negative but well ahead of expectations and well ahead of prior year.

Overall, we expect a lot of activation activity in Q4 but still expect to be at the low-ish end of our guidance of 400 to 475 installs for the year, as
some airlines have held back planes to make up for missed MAX deliveries, as others have delayed for internal scheduling reasons, and some as a
result of the government shutdown earlier in the year.

As far as MAXes generally, we've installed seven for the year. And in total, we have a backlog of 36, which includes our first line-fit Boeing aircraft,
scheduled for the fourth quarter this year. Obviously, that schedule could change given the fluid MAX situation. But when it does occur, it will be
our first major OEM line-fit installation and a watershed moment for Gogo. We had one first-of-type induction in Q3, the Cathay Pacific A330-300.

In summary for the combined CA segments. We're excited about the potential of our CA business. Global wireless usage trends are solid and
improving and will drive demand for free WiFi in aircraft, which will spur demand for our products and services. And the total addressable market
is large and relatively untapped, with only about 35% of aircraft globally installed with a broadband IFC product today. We believe there will be
18,000 new or retrofit aircraft installed with broadband over the next decade and that we can win our fair share of that addressable market.

Now I'll get into a little detail on Commercial Aviation North America and then on Commercial Aviation Rest of World.

We had 69 gross additions in CA-NA for the quarter, down a little from 74 prior year, down from 92 in Q2. Net additions were at negative 21 for the
quarter. As many of the gross installs were ATG upgrade, some airlines retired older ATG aircraft. We expect a significant uptick in installs for Q4,


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most of which will be turnkey ATG upgrades. I should note that as we look at Q4 we expect to take a small revenue hit from one third-party payer
that is experiencing financial difficulties.

In Rest of World. Obviously, our new airline contract is our biggest news. But more generally, we had a good quarter. We signed a restructured
contract with one of our Latin American partners that will lower our equipment subsidies and improve Gogo cash flow over the next few years. As
for installs, it was a seasonally slow quarter, with 31 gross additions versus 50 for Q2 and one deinstall. We expect to significantly increase in ROW
installations for Q4, most of which will be under the airline-directed model. And we should approach 200 net additions for the year.

We plan to drive our ROW segment to profitability over the next few years by installing our backlog, ramping ARPA, reducing costs as line-fit gets
completed, utilizing our Satcom capacity more efficiency and driving down Satcom unit costs.

So let me conclude my comments by saying that we had a strong first three quarters of the year. And though we're not all the way out of the woods,
we have made great progress.

With that, let me turn it over to Barry to do the numbers.


Barry L. Rowan - Gogo Inc. - CFO & Executive VP
Thanks, Oak. Let's jump right in, beginning with a summary of our third quarter results.

Gogo delivered another great quarter of financial performance, with adjusted EBITDA and cash flow both substantially exceeding our expectations.
This was the third quarter in a row that adjusted EBITDA exceeded $35 million. This quarter's outperformance was driven by a rebound in Business
Aviation and Commercial Aviation expenses remaining below budget.

On a sequential basis, BA equipment revenue was up 58%, and segment profit was up $6 million. CA's expenses have continued to run below plan
for both Satcom and overall operating expenses. From January through September, we have delivered $111 million in adjusted EBITDA, exceeding
2018's full year performance of $71 million by over 50%. We are raising our adjusted EBITDA guidance as we have done in each of the last five
quarters, this time to $120 million to $130 million for the full year 2019. At the midpoint, this represents a 76% year-over-year increase in adjusted
EBITDA.

In addition to the strong adjusted EBITDA performance, we have dramatically reduced our cash burden. During the quarter, we achieved record
positive free cash flow of approximately $34 million. During the first three quarters of 2018, we've earned $216 million in cash versus just $3 million
for the comparable period this year. For the second quarter in a row, unlevered free cash flow was above $30 million at a positive $33 million. We
continued to project positive unlevered free cash flow for the full year 2019.

This improved cash flow performance is the result of the very strong adjusted EBITDA achieved during the first three quarters of the year, lower
airborne equipment investments and improvements in networking capital. We are achieving the aggressive targets we set for reduced inventory
purchases and improving accounts receivable during the year.

As we have guided since the beginning of the year, we are on target to improve free cash flow this year by at least $100 million over 2018. This is
a particularly important achievement, considering that our net cash interest expense for the year will be $39 million higher in 2019 versus 2018.
This year's higher interest expense is primarily due to making three interest payments on our senior secured debt during the year due to the timing
of our refinancing.

We are, of course, very pleased with the adjusted EBITDA improved cash flow performance we've been able to achieve for the first three quarters
of 2019. However, we do want to make sure that we properly set expectations for the balance of the year. In that spirit, I'll offer some perspective
on how we view both adjusted EBITDA and free cash flow developing for the fourth quarter.




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First, regarding adjusted EBITDA. While Satcom expense is still running well below plan, we do expect these expenses to increase again in the
fourth quarter as we enter into contracts to serve the increasing demand from our customers. In addition, some CA expenses were delayed from
this quarter that we will expect to incur in future periods.

As you will note, our raised 2019 adjusted EBITDA guidance implies fourth quarter adjusted EBITDA of $19 million at the high end of the range.
This compares to the over $35 million we achieved in each of the first three quarters.

As we look at free cash flow for the fourth quarter, there are some known outflows that will reduce it from this quarter's record level. Given that
free cash flow has improved by over $200 million for the first three quarters, let me highlight the primary reasons we expect it to come in closer to
$100 million improvement for the year.

First, we have $54 million in interest payments due during the fourth quarter and had none in the third quarter. Secondly, we expect working
capital to be a use of cash in the fourth quarter due to some anticipated swings in the timing of working capital.

Before we turn to our operational performance, let me highlight a couple of additional points regarding our balance sheet. We did put the
asset-backed loan facility in place, as we indicated on our last earnings call. This $30 million facility carries an interest rate of LIBOR plus 2%, translating
to approximately 4% at today's rate. While these funds are not available to us, we have not [inaudible] on the facility. We're also pleased that the
debt instruments within our capital structure are performing well. Both the senior secured notes and the 6% convertible notes are trading well
above par.

I'll now turn to a discussion of our third quarter operating results, starting at the consolidated level. Consolidated revenue was $201 million, down
7% from a year ago, reflecting the planned reduction in revenue from American Airlines. Consolidated service revenue was $158 million for the
quarter, essentially flat from a year ago. We expect revenue to increase in 2020 as we add new aircraft in CA and with an outlook for resumed
growth in BA's total revenue.

Our bottom-line performance has benefitted from disciplined cost management across both CA and BA. For the first 9 months of this year, department
and Satcom expenses are approximately $28 million below our internal budget on a combined basis. As we will discuss, some of this expense
benefit is timing related. While there is more we can do to continue driving operational and financial discipline in the company, it has improved
substantially during the past year.

Now let's move to a discussion of the business segments, starting with Business Aviation. We were very pleased to see the BA business rebound
in the third quarter. Total revenue for BA increased to $81 million, up 11% from the third quarter of 2018, as both service and equipment revenue
grew during this quarter.

Service revenue increased to $55 million, up 12% from the prior year period. This was primarily driven by a 10% increase in ATG aircraft online to
5,527 at the end of the quarter. Monthly service revenue for ATG aircraft online increased to $3,087, up nearly 3% from $3,008 in the prior year
period.

The weakening trends in equipment revenue we saw during the first half of the year tied to the ADS-B delay are starting to reverse. BA equipment
revenue increased 58% sequentially on the strength of our premier AVANCE L5 product line. We are seeing OEMs accelerate their purchases ahead
of planned [airtran] sales, and dealers are again building inventory. Equipment revenue for this quarter matched the all-time high of $26 million
achieved in the second quarter of 2018 during the highly successful AVANCE product rollout.

Driven by this growth in equipment revenue and an attractive product mix, BA equipment margins increased from 28% in the second quarter of
this year to 43% this quarter. This is back in line with BA's historical equipment margins. Segment profit of $37 million was up sequentially by $6
million or 18%, primarily driven by the growth in revenue. Based on these strong operating results, segment profit margin grew to 45.4% during
the quarter, up from 43.9% sequentially.




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Now I'll turn to a discussion of our Commercial Aviation division, starting with CA-North America and Rest of World on a combined basis. It's worth
highlighting three developments with four separate airlines which influence CA's results this quarter and going forward.

First is the completion of the American Airlines deinstallations and the full impact of the airline switch to the airline-directed model. This has
meaningfully reduced our revenue and associated profitability, as I've mentioned, and will make for a difficult comparison through the second
quarter of 2020.

Second is the successful renegotiation of the contract with a Latin American carrier, as Oak also described. This represents a significant improvement
in the 5-year NPV of the contract and is a great validation of one of the key objectives we established as part of our integrated business plan.

Third, we said on our February earnings call that we expected two airlines to switch back from the airline-directed business model to the turnkey
business model during 2019. The first one of these occurred in the first quarter, and the second occurred in the third quarter.

The headlines for our Commercial Aviation business in 2019 are that even as CA has endured some significant headwinds, service revenue for the
first 9 months is up almost 3% over the same period last year. And CA's bottom line has performed well ahead of expectation due to strong cost
controls and the timing of expenses.

For the first three quarters of last year, CA's segment profit was negative $52 million. For the first three quarters of this year, it is a positive $10
million, including a modest loss of less than $2 million this quarter. Importantly, this $52 million segment profit improvement also reflects a
considerable narrowing of the year-to-date losses in CA-ROW.

The strong CA segment profit is largely due to Satcom expenses [under-running] plan and the reduction in other operating expenses we targeted.
We anticipate that our Satcom expense will come in more than $15 million below our 2019 budget. However, we do expect Satcom expenses to
increase again on an absolute basis in the fourth quarter and next year to meet the demand created by growing passenger usage.

As you'll recall, through our integrated business plan process, we identified $75 million in annual savings in CA department spend excluding Satcom
expense between the time we announced that plan in mid-2018 and the end of 2020. On our last earnings call, we said we expected to achieve
approximately $45 million of those savings or 60% of the target this year. We now expect to achieve approximately $50 million or two-thirds of
that reduction this year. However, it is also important to note that some of this is due to deferred expenses, which we expect to incur in future
periods.

CA's $62 million improvement and year-to-date segment profit over the previous year has clearly been a major contributor to our dramatically
improving free cash flow performance this year. In parallel, we've also made significant strides in working capital management. Most of the cash
flow improvement from working capital has come through our planned slowing of inventory purchases and improving accounts receivable.

Now I'll turn to a discussion of the operating results for Commercial Aviation North America. Total revenue for CA-NA decreased to $84 million in
the third quarter, down 22% from the third quarter of 2018, reflecting anticipated declines in both service and equipment revenue. Service revenue
was approximately $80 million, down 14% from the third quarter of 2018, primarily due to the impact of American Airlines. Excluding this airline,
service revenue was up 7% over the prior year. We continue to expect revenue growth to resume for CA-NA in 2020.

Equipment revenue declined 76% to $3.7 million, as compared with $15 million for the prior year period. This decline was due to lower 2Ku
installations and a shift in mix from airline-directed to turnkey installations. As Oak described, we expect total 2Ku installations to increase meaningfully
in the fourth quarter on a sequential basis.

Total take rate for CA-NA grew year-over-year to 12 7% and, excluding American Airlines, net ARPA was up 3% year-over-year to $132,000. Largely
driven by expenses coming in well below plan, CA-NA contributed about $42 million of the over $60 million improvement in CA's combined
segment profit for the first 9 months of this year.




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Now let's turn to CA-ROW, which also delivered a strong third quarter. CA-ROW total revenue was approximately $36 million, up 1% from a year
ago. Service revenue increased to $22.6 million, up 28% from the third quarter of 2018 as we brought additional aircraft online. Equipment revenue
decreased to $13.1 million, down from $17.6 million in the third quarter of 2018, due to a lower number of installs under the airline-directed model.

As expected, ROW take rates and ARPA both decreased over the year-ago quarter due to the significant growth in new aircraft fleets coming online.
As we've described on previous calls, both the ARPA and take rates are substantially higher for existing airlines as the new aircraft fleets mature.

Aircraft from new airlines represented 49% of total ROW aircraft online at the end of the quarter, up from 30% a year ago. ROW aircraft online
increased to 721, up 41% from 513 as of September 30, 2018, and we still have a healthy backlog of over 500 aircraft to be installed.

We're very pleased to see the losses narrowing for our CA-ROW segment. Segment loss in CA-ROW of $13.7 million improved 40% over the prior
year period, driven by higher service revenue, continuing improvement in Satcom utilization and lower operating expenses. Through the first three
quarters of this year, we reduced ROW losses by nearly 30% from negative $70 million in 2018 to negative $50 million for the comparable 9-month
period this year.

I will now turn to a discussion of our 2019 guidance, which is summarized as follows. Total consolidated revenue in the range of $800 million to
$850 million is unchanged. We expect CA-NA revenue to be at the high end of the previously guided range of $355 million to $380 million, with
approximately 5% from equipment revenue, no change from prior guidance. We expect CA-ROW revenue to be at the high end of the previously
guided range of $135 million to $150 million, with approximately 40% coming from equipment revenue, no change from prior guidance. We now
expect BA revenue to be at the high end of the previously revised range of $290 million to $300 million.

We're raising our adjusted EBITDA guidance to a range of $120 million to $130 million, an increase from our prior guidance of $105 million to $115
million. As a reminder, the adjusted EBITDA guidance provided on our February 2019 call was $75 million to $95 million. We expect the increase
in 2Ku aircraft online to be at the low end of the previously guided range of 400 to 475.

While we won't be discussing 2020 guidance on this call, we thought it might be helpful to offer some perspective on the puts and takes as we
look forward to next year. We're very positive about the progress we have made in the last 12 months, as evidenced by this year's strong financial
performance. But we also want investors to maintain a balanced perspective as we continue to build on Gogo's achievements.

In assessing our 2019 performance, it's important to recognize that year-to-date adjusted EBITDA has benefitted from about $9 million of nonrecurring
items. Now as we look to 2020, within BA, we'll be making meaningful investments in our 5G network in preparation for its commercial rollout
planned for 2021.

These plans aren't new but are worth reiterating now that we have named our 5G vendors. BA revenue rebounded well in this quarter. But we are
monitoring the potential impact on longer-term service revenue from the temporary delays in equipment sales due to ADS-B.

In CA, we will have effectively lapped the issues with American Airlines by the third quarter of 2020, including the deinstalls and the airline completing
its shift to the airline-directed business model. As I said previously, 2019 is also benefitting from the deferral of some operating expenses into future
periods. And some additional program spending will occur in 2020.

Finally, regarding cash flow. We're extremely pleased with the progress we've made in 2019. But do bear in mind that these results reflect a
meaningful portion of the cash flow improvements we have targeted to come from working capital, which are largely nonrecurring.

As I conclude my prepared remarks, I want to join Oak in thanking our tremendously committed employees for their contribution to our strong
financial results. I also want to add my thanks to our investors for this quarter.

Operator, we're now ready for our first question.




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QUESTIONS AND ANSWERS
Operator
(Operator Instructions) Our first question comes from Philip Cusick of JPMorgan.


Philip A. Cusick - JP Morgan Chase & Co, Research Division - MD and Senior Analyst
Two -- I guess first, congratulations on the deal to be signed today. Can you give us, Oak, an idea of the scale of that contract and what type of
usage the customer envisions? Maybe what kind of competition did you see on that?

And then, Barry, you were just going through some of the issues in jumping off from 2019 EBITDA and free cash flow into 2020. Not to ask you for
guidance yet for 2020, but maybe if you can give us some of the net impacts on both of those numbers, that would be helpful.


Oakleigh B. Thorne - Gogo Inc. - President, CEO & Director
Yes, Phil, Oakleigh first.

I don't want to get in front of the airways announcement, so I don't want to go too far. But I'll say that it's global route structure wide-body jets. We
are -- the competition, where other IFC players that can offer global coverage, the usual suspects there. I think they are impressed with the quality
of 2Ku; they flew it a lot on other airlines. And I would say it's an airline that's extremely focused on quality of service. So it's very rewarding to win
that deal. It is both 2Ku as well as our IPTV product.


Barry L. Rowan - Gogo Inc. - CFO & Executive VP
And Phil, on your question about 2020 -- thanks for not pressing us for giving guidance on this call. As you know, we do that on our quarter four
call, and we're still in the midst of budgeting for next year. But here are some things to think about.

So this year, there is that $9 million one-time benefit to adjusted EBITDA in 2019. As we look the next year -- the IBP savings are coming in ahead
of plan. As we said coming into the year, we expect about half of those or a little more to be realized, half of the $75 million this year. And now it
is more like two-thirds of the $50 million, so that certainly helps.

I would say on IBP, really most of the operational disciplines and process improvements are happening as planned. There's one project running
behind plan that'll extend throughout 2020, having to do with driving efficiency and production operations. And we will look to be increasing
some expenses for some important investment areas, 5G being the major one in BA. And that's on the order, on the OpEx side, of kind of $10 million
to $15 million. And we'll also be doing things like adding to our really talented satellite team to meet the significant demand. And there may be
some programs also that we would implement to take advantage of some new opportunities, things like line-fit and so on. So hopefully, that gives
you a little more color on how we see 2020 unfolding.


Operator
Our next question comes from Lance Vitanza of Cowen.


Lance William Vitanza - Cowen and Company, LLC, Research Division - MD & Cross-Cap Structure Analyst
Nice job on the quarter.




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On the Business Aviation segment, you obviously talked a lot about kind of rolling past the FAA ADS-B installation mandates. Those were a big
deal in second quarter. I'm guessing that you didn't really see any impact of that in the third quarter, given the near record volume of shipments.
But was that true? Or was there perhaps even some lingering impact in the beginning of the quarter, maybe? And I guess I'm just trying to think
about what, if anything, that suggests for the next few quarters.


Oakleigh B. Thorne - Gogo Inc. - President, CEO & Director
Yes. No, there's still impact. In talking to the dealers, the big dealers in particular have handled all the larger aircraft at this point. There are more,
I'd say, lower-value hauls that are still getting ADS-B. They've moved a lot of that out to what they call satellite facilities, so more remote airports
where they have hangars, et cetera. And they've been able to open up shop floor space in their major facilities and get back to selling IFC and other
product, which are frankly more profitable to them than ADS-B is.

So that said, there's still some pressure there. And I think we expect to see ADS-B installs continue through the first half of next year. I think the
dealers expect that. So I don't think we're ever fully out of the woods on it. But it was nice to see it pick up in those orders. Remember, those aren't
all activations; those are units that are shipped. And in the BA business, we sell them and then we book revenue. When we ship to the OEM or the
dealer, they then actually install those. So some of those will go on the shelf and be installed over time.


Barry L. Rowan - Gogo Inc. - CFO & Executive VP
And just to add to Oak's point about the mix on OEM versus aftermarket, too, Lance -- I mean, the OEM has particularly picked up. And so where
you see the impact of ADS-B is on the aftermarket side. So that's what we're -- still continue to see that during the course of the year.


Lance William Vitanza - Cowen and Company, LLC, Research Division - MD & Cross-Cap Structure Analyst
And then, if I could just ask a follow-up, again in the BA segment? But the monthly revenue for aircraft online on the ATG side for the last several
quarters has been sort of stuck in the low single digit range. Is that just sort of what we should expect going forward? Or do you see an opportunity
for reacceleration either under the current AVANCE L5 program or perhaps when you've eventually rolled out the 5G systems?


Oakleigh B. Thorne - Gogo Inc. - President, CEO & Director
Sorry, are you asking about ARPU in the ATG part?


Lance William Vitanza - Cowen and Company, LLC, Research Division - MD & Cross-Cap Structure Analyst
Yes.


Oakleigh B. Thorne - Gogo Inc. - President, CEO & Director
Well, there's a little bit of downward pressure there. But the people had unlimited -- a lot of people were buying unlimited plans when AVANCE
first rolled out. And of course, when they go over certain thresholds, they would be getting charged more, et cetera, et cetera. So they've gone to
more managed plans, I guess. So that's been little downward pressures holding it down. But you still see a lot of people upgrading plans as well.

We don't have 5G -- I don't want to get out and speculate too much about what our 5G pricing for plans will be. We haven't decided that yet.




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Operator
Our next question comes from Scott Searle of Roth Capital.


Scott Wallace Searle - Roth Capital Partners, LLC, Research Division - MD & Senior Research Analyst
Nice job on the quarter, guys.

Just a real quick question on Satcom capacity. I know you guys have been working hard to go back, renegotiate, expand the footprint to give you
guys some diversity and reliability and backup in terms of satellite failures. But can you help us understand how some of those contract renegotiations
get feathered into your Satcom costs, particularly on the international front, where utilization is a lot lower, just given the number of aircraft that
are currently live?

And if you could extrapolate that, now with the new EMEA customer and 500 aircraft in backlog, does that get you to breakeven results in international
once they're fully deployed?


Oakleigh B. Thorne - Gogo Inc. - President, CEO & Director
Well, let's start with the renewals. I mean, when we're renewing now, first of all, we're not using renewing on the same satellite. We're committing
to a new satellite, like we did with EUTELSAT 10B, which was announced, I think, last week. And those new satellites are at a much lower unit cost
than the contracts that are rolling off, dramatically lower. So those are improving our economics in Rest of World. And that's going to be one of
the major drivers towards profitability in that division.

I'm sorry, the second part of your question on capacity was . . .?


Scott Wallace Searle - Roth Capital Partners, LLC, Research Division - MD & Senior Research Analyst
Well, Oak, just kind of extrapolating your backlog out in the Rest of World with 500 aircraft plus the new deal that's announced today -- as you start
to get some better utilization with that footprint, and better costs, does that get you to breakeven just deploying against what [you've got] visibility
and under contract to now in international markets?


Barry L. Rowan - Gogo Inc. - CFO & Executive VP
Yes, Scott, as we've said, and as Oak kind of reiterated on this call, the drivers remain what they've been, getting those installed, increasing the
ARPU with new fleets [inaudible] as we do see some of the OEM costs coming down over time as we get those programs behind us and so on.
Clearly, the increased demand being driven for satellite capacity helps worldwide, so just to underscore Oak's point on that.

And I would say that this order that we're announcing today certainly helps. And you also saw the announcement that we made about EUTELSAT
for capacity over that region. So that also helps as current contracts come off and we're able to deploy that 10B satellite at attractive pricing. So I
wouldn't want to say specifically about what that looks like for ROW losses. But clearly, this helps, and it's part of the strategy to add airlines in those
regions where we have excess capacity and can drive it down and continue to drive the cost structure lower.


Operator
Our next question comes from Rick Prentiss of Raymond James.




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Richard Hamilton Prentiss - Raymond James & Associates, Inc., Research Division - Head of Telecommunication Services Equity Research
A couple questions, if I could. I want to follow up on some of Phil's questions, in particular to Satcom. If I wrote the numbers down fast enough,
Barry, that you were giving, sounded like Satcom is down $20 million below plan year-to-date but that for the year it might be $15 million? Is that
kind of the timing item you were getting at, or just increased demand?


Barry L. Rowan - Gogo Inc. - CFO & Executive VP
Yes, Rick, just to clarify that -- that $28 million year-to-date was the amount that we are under for Satcom as well as the department operating
expenses. And then, for the year, we expect Satcom to be $15 million below the budget. And just as a reminder, it's growing, of course, on an
absolute basis from second quarter, it grew in third quarter, will grow again in fourth quarter as demand grows. But even with that, growth in
absolute terms, it's running below plan along the lines we talked about.


Richard Hamilton Prentiss - Raymond James & Associates, Inc., Research Division - Head of Telecommunication Services Equity Research
And as far as versus plan, is that your internal plan? Or is that kind of plan you would've communicated to the street? Is it doing like significantly
better than the internal plan as well?


Barry L. Rowan - Gogo Inc. - CFO & Executive VP
No, that's versus the internal plan. And we've talked about the EBITDA exceeding expectations -- certainly is true versus the street, but it's also true
based on our internal budget because of these expenses coming in below plan. And we talked about that on the last call, that part of that is due
to the great work by the engineering team as we put policy management in place as we've introduced new network elements like modems that
helps the overall usage to deliver the same user experience. So part of that has been the benefit of that kind of engineering work.


Richard Hamilton Prentiss - Raymond James & Associates, Inc., Research Division - Head of Telecommunication Services Equity Research
And back in the early prepared remarks, Oak, you might've mentioned something about a revenue hit in fourth quarter from a third-party character.
Can you help us frame that, what kind of size you're talking about, which line item that would hit?


Oakleigh B. Thorne - Gogo Inc. - President, CEO & Director
Yes, it's a couple million. And I'll tell you it's [Ipass], which is -- it's pretty public the financial troubles that the parent company is in.


Richard Hamilton Prentiss - Raymond James & Associates, Inc., Research Division - Head of Telecommunication Services Equity Research
And last one for me. Obviously, it's up to Delta to make the announcement, but what kind of time frame should we be expecting updates from
Delta, kind of on their view of unlimited WiFi? Is there a time line you can at least point us to to keep watching for?


Oakleigh B. Thorne - Gogo Inc. - President, CEO & Director
No. I go down to Delta pretty regularly. And it's pretty well articulated to me that they prefer to make those announcements themselves. So we're
going to [inaudible] their wishes. Our job is to support them operationally and let them manage the program commercially.




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Richard Hamilton Prentiss - Raymond James & Associates, Inc., Research Division - Head of Telecommunication Services Equity Research
And any final update on the MAX delays, how it affects your business? Looks like it's slipping out into 1Q, obviously. But just kind of help us update
the thought of what MAX delays are meaning to not just installs but then also service revenues?


Oakleigh B. Thorne - Gogo Inc. - President, CEO & Director
Yes. I'll let Barry get to the service revenue component of it. I don't know that we really calculated it. We don't have a lot of MAXes. Like I said, there's
36 in backlog, which includes the seven that have already been installed. So we'd have presumably ARPA already from 36 more aircraft. And you
can take an average ARPA number multiplied times that, and that would kind of be the hit on, I'm sure, MAX planes.

And then, of course, there are the planes that are not being given to us for installs. And kind of hard to quantify that exactly. We actually tried to
for this call. Because when the airlines start delaying things, often there's a raft of reasons. MAX delays might be one of them, right? They're not
going to get a MAX, so they need to keep some other plane in service and can't give it to us for a 2-day install.

So we can't really quantify that. But I would say there have been roughly 100 installs that got pushed out on us this year. MAX is probably 25%,
30% of those, something like that. That's what we sort of roughly estimate.


Barry L. Rowan - Gogo Inc. - CFO & Executive VP
And Rick, the revenue impact is really very small.


Oakleigh B. Thorne - Gogo Inc. - President, CEO & Director
At least for now, for sure. And obviously, the MAX is a big part of our future. Once we are line-fit on that aircraft, that's an aircraft that will be --
there'll be a lot of those manufactured presumably, and it'll be one of the leading aircraft in the world in terms of unit counts. And so line-fit on
that is very important.


Operator
Our next question comes from Louie DiPalma of William Blair.


Louie DiPalma - William Blair & Company L.L.C., Research Division - Analyst
Free cash flow generation has never really been associated with Gogo, and appropriately. You announced further measures to improve free cash
flow on this earnings call, on top of this quarter's strong performance. Is the general plan to refinance your debt in June of 2021, assuming that
you're still an independent company then?


Oakleigh B. Thorne - Gogo Inc. - President, CEO & Director
Yes, let me take those one at a time, Louie. First on the question about improvement to free cash flow. The drivers of that have been the increased
EBITDA, the working capital management and the benefit from lower airborne equipment investment. What I tried to say is that we've had really
an extraordinary improvement of free cash flow of $200 million or so in the first three quarters. That improvement over last year will decline as we
exit the year for the reasons I mentioned. So we have an over $50 million interest payment in the fourth quarter, and we also expect there to be a
use of cash from working capital in the fourth quarter. So that'll take the improvement year-over-year in free cash flow performance down from
where it is year-to-date. But still, we feel very good about achieving at least $100 million improvement year-over-year.



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Barry L. Rowan - Gogo Inc. - CFO & Executive VP
Regarding your question on refinancing -- yes, as you know, when we did the refinancing of the $925 million, we purposefully took a lower turn,
and we could've taken a 5-year. So we did a 5-year term with a 2-year non-call period, with the understanding that that would enable us to refinance
sooner. We expected at that time, and still do, for continuing improvement in the operations, and that even though we got a good improvement
in the interest rate during the last refinancing, we expect to continue to be able to be in a position to refinance the balance sheet at more and more
attractive rates.

So in terms of the timing, the next big event is the maturity of the 6% convertible notes, which is in May of 2022. So you could look to us getting
something done with that in more than a year in advance of that is the way we think about that. So that puts you into getting something done by
early 2021.


Louie DiPalma - William Blair & Company L.L.C., Research Division - Analyst
And now I have an extended, high-level industry question. Oak, I want you to address the topic of industry pricing power and negotiating leverage.
It seems that when airlines had your ATG solution or no in-flight WiFi solution at all, it seems that the airlines had all of the pricing power. And that
manifested itself with how the airlines, especially your largest partners, pressured you for heavy subsidies, which is why you accumulated over $1
billion of debt. Now that satellite antennae across the industry are now on over 8,000 planes, is there any evidence that airlines have switched a
material number of planes from one Satcom antenna to another? And even if the Satcom solution is considered poor, is there any evidence of
switching from one Satcom provider to another?

So whereas the airlines brutally exercised their pricing power over Gogo for the past decade, is it possible that all of the in-flight connectivity service
providers have some degree of pricing power now when negotiating contract amendments, since they have a Satcom antenna that seems very
difficult to switch off?


Oakleigh B. Thorne - Gogo Inc. - President, CEO & Director
That was a rich and long question, Louie.

So I think in the early days, we would subsidize antennas heavily in order to win airlines in anticipation -- and those were usually turnkey deals,
where we then had the commercial right on the aircraft to sell our product and to bring in third-party payers, et cetera. The world is obviously
switching more to an airline-directed model, where the airlines want to control more of that, especially the large airlines. And so they're getting
probably more sensitive on the -- well, they never had costs in the turnkey model, but they do have costs in the airline-directed model. Because
they're the ones that are paying us for sessions or getting a sponsor to pay us.

So I think that there is less sensitivity on the equipment side. Most of our deals today are not heavily subsidized. Very few of our -- well, there are
still some old deals that we're honoring that were somewhat subsidized a little bit. But there are new deals that are pretty much all at cost or very
close to cost on the equipment. And then, I think the airlines are going more price sensitive on the sessions, and especially as they look at going
free.

So we are very focused on driving our unit costs down, our Satcom unit costs down, and with 2Ku and other ways of delivering more efficient
solutions to the airlines than our competitors can. So I think that might answer your question.

On the renewals, these contracts are long contracts generally. So there have been very few renewals. We did renew American Airlines earlier this
year, because they have an unusually short contract with us. And we announced that, I think, on a quarter call. And they were, I'd say, a little bit
less price-sensitive than they'd been in the past. But as I said, I think that service pricing is going to be where there's going to be competition going
forward. That make sense, Barry?



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Operator
Our next question comes from Simon Flannery of Morgan Stanley.


Landon Hoffman Park - Morgan Stanley, Research Division - Research Associate
This is Landon Park on for Simon.

We're just wondering if you could expand on any other conversations you're having with your partners around offering free WiFi. And you also
made some allusion to tightness in the continental U S. satellite supply market. So how should we think about your ability to meaningfully ramp
your service offerings in North America, and when new supply might be coming online to support new services?


Oakleigh B. Thorne - Gogo Inc. - President, CEO & Director
Yes. Well, I think what I was alluding to was that Intelsat 29E, which had 9 3 gig of Ku on it but went out of service earlier in the year. So that took
a fair amount of capacity out of the U.S. market.

But there's capacity for what we're trying to do. Right now, we are still in negotiation with a number of players. We got eight different suppliers
we're working with. We're focused on getting the right pricing with them, and we're able to start a lot of competition between them. So we feel
pretty good about that. So that's the capacity part of your question.

And what was the other part of your question?


Landon Hoffman Park - Morgan Stanley, Research Division - Research Associate
Any other conversations you're having with your partners around free WiFi, outside of Delta, of course?


Oakleigh B. Thorne - Gogo Inc. - President, CEO & Director
Yes. I mean, it's the conversation at every airline, of course. Some of them think it's great, and some of them are scared to death of it but feel that
they may have to react. If one of the big majors goes free, what are they going to do? They're going to probably have to go free as well.

So I think free will sweep across the industry over the next, say, 5 years. Different airlines will do that differently. Lower-cost airlines are not going
to give away high-quality sessions, probably. But they're probably going to give away something. And they will [have] everything in between. So
yes, it's a major -- every airline's talking about it.


Landon Hoffman Park - Morgan Stanley, Research Division - Research Associate
And one last one -- CA-NA, the ARPA was modestly down year-over-year. How should we be thinking about that as we move into 2020 as we start
to fully lap the American deinstalls?


Barry L. Rowan - Gogo Inc. - CFO & Executive VP
So as you look at this quarter versus last, Landon, this doesn't reflect the impact of American Airlines. Their full shift to the airline-directed model
also in the second quarter did have a one-time benefit from the renegotiation of that contract that we talked about on the last call. As you look at



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Oakleigh B. Thorne - Gogo Inc. - President, CEO & Director
Yes. I mean, I would just add to that that international wide-body fleets that are fully installed tend to have our highest ARPA numbers. But they
are the hardest to install if they're traveling international routes. Because they're really utilized very heavily. And getting them out of service to
install takes more time. So some of our great European brands we've been installing for 2 years or so. And we've still got time to go in order to get
fully installed. And again, it's really because those aircraft spend so much time in the air that it's harder than with a domestic fleet, where we can
[go] nose-to-tail and just bang in the antennas and churn them out. So it takes a little longer, but the reward is much better, the way I look at it.


Operator
Thank you. I would now like to turn the conference back over to Mr. Oakleigh Thorne for any closing remarks.


Oakleigh B. Thorne - Gogo Inc. - President, CEO & Director
Thank you. And thank you for attending our Q3 2019 Earnings Conference Call.

I'd like to leave you with a few thoughts. First, we have a very strong cash flow-generating business in BA. Not only does it have a unique competitive
advantage by virtue of our spectrum ownership but it's also a relatively unpenetrated market and has ample runway for growth.

Second, Commercial Aviation Rest of World is growing. It's also an extremely large and unpenetrated market. And with our global 2Ku platform,
our progress in line-fit and our strong backlog, we're well positioned to win our share of that attractive market.

Third, Commercial Aviation North America revenue is bottoming out as the impact of American Airlines deinstalls and their conversion to the
airline-directed model is finally behind us. And we expect to start growing revenue again next year.

Fourth, we've strengthened our balance sheet, given ourselves strategic flexibility by pushing our senior notes out to 2024, and further strengthened
our balance sheet this quarter by closing our $30 million ABL.

And finally, by virtue of our industry-leading market share and our asset-light operating model, we're well positioned to take advantage of the
opportunities for this by the satellite industry. And we look forward to demonstrating that to you in the quarters to come.

Thanks again for your time. And look forward to talking to you again next quarter.


Operator
Thank you. Ladies and gentlemen, this concludes today's conference call. Thank you for participating. You may now disconnect.




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                   Exhibit E
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               Work Document - Strictly Confidential – Framework Agreement – Ref: ---------------




                                               AGREEMENT

This Agreement (the “Agreement”) is made and entered into this _____ day of                         , 2019 (the
“Effective Date”) by and between:

EUTELSAT S.A., a French joint-stock company, registered with the Registry of Commerce of
Paris under the number 422 551 176, whose registered office is located at 70, rue Balard,
75015 Paris, FRANCE,

(referred to as “Eutelsat”)

AND

GOGO, a company incorporated under the laws of [••••••••••••], under the registration number
[•••••••••••••••••••], whose registered office is located at [••••••••••••••••], duly represented for the
purposes hereof by [•••••••••••••••••],[•••••••••••••••••],

(referred to as the “Customer”)

Customer and Eutelsat may be collectively referred to herein as the “Parties,” or individually as a “Party.

WHEREAS, Customer and Eutelsat have concluded on 26 September 2019 a binding Service Order
subject to Board approval in respect of Ku Band satellite capacity on the future E10B satellite (the
“Service Order”);

WHEREAS, the E10B satellite project was approved by Eutelsat’s Board on [                    ];

WHEREAS, the Service Order was approved by the Customer Board on [                      ];

WHEREAS, the Service Order shall be completed by further documentation to be negotiated between
the Parties;

WHEREAS, Customer and Satmex, a subsidiary of Eutelsat, have concluded a Master Service
Agreement (“MSA” attached hereto as Schedule 1);

WHEREAS, the Parties wish to incorporate by reference the MSA into this Agreement, as revised
hereinafter;

NOW, THEREFORE, IN CONSIDERATION OF THE FOREGOING AND THE TERMS AND
CONDITIONS SET OUT HEREINAFTER, THE PARTIES HEREBY AGREE AS FOLLOWS:

ARTICLE 1 – SUBJECT- MATTER - INTEGRATION OF THE MSA

1.1 The Parties hereby agree to the following terms and conditions for ordering satellite capacity and
    services.

1.2 Save as expressly set forth in Article 1.3, the Parties hereby agree to incorporate by reference all of
    the terms and conditions of the MSA, which are hereby entirely integrated herein and made an
    integral part hereof, PROVIDED EXPRESSLY THAT this Agreement shall not apply to any
    Occasional Use Services or Integrated Services (as said terms are defined in the MSA) and all


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    references to said terms and/or the exhibits of the MSA relating thereto are expressly excluded from
    the scope hereof.

1.3 The following provisions of the MSA are hereby replaced and superseded by the terms set forth
    below:

    a) Clause Nine is hereby replaced by the following wording:


“NINTH - SERVICE CHARGES AND PAYMENT TERMS

The Service Charges payable by the Customer shall be defined in the Service Order.

Unless otherwise specified in the Service Order, invoices for Service Charges shall be issued by Eutelsat
on a monthly basis in advance, i.e. 1 (one) month prior the commencement of the Service.

Invoices to be issued by Eutelsat shall be sent by fax, email, regular or overnight express mail to the
Customer’s address specified in the Service Order.

Service Charges shall be paid in full by the Customer, without offset, withholding, counterclaim, or
deduction of any kind, in the currency specified in the Service Order and by wire transfer (all related costs
being assumed by the Customer) to the account designated in the relevant invoice (referred to as the
“Designated Account”).

Unless otherwise specified in the Service Order, payment of Service Charges is due no later than 30
(thirty) days as from the date of the relevant invoice (referred to as the “Payment Due Date”).

Payments are deemed to have been made on the day when the relevant sum is credited to the
Designated Account.

In the event that any sum is not fully paid on the Payment Due Date, Eutelsat shall be entitled, subject to
a prior 5 (five) day written notice, to:

      -    implement any technical and/or operational measures to limit or interrupt the Service;

      -    require the immediate payment of all sums invoiced for the Service already provided, even if
           said sums are not yet due under the relevant Service Order; and

      -    require that the Customer pay a fixed indemnity for recovery costs equal to 5% of the overdue
           amount, with a minimum of 1,000 (one thousand) Euros for each payment breach.

In addition to the foregoing, any payment due from the Customer that is not received on the Payment Due
Date shall bear interest per day of delay. Unless otherwise stipulated in the Service Order, late payment
interest shall be applied as of the said date in accordance with the following formula:

                LPI = UA x [12% + EURIBOR (if Euros) or LIBOR (if United States Dollars)] x ND/365
      Where:
      “LPI” is the Late Payment Interest.
      “UA” is the then-current unpaid amount of Service Charges.

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      “EURIBOR” is the then-current EURIBOR one-year rate as published by the European Central
      Bank.
      “LIBOR” is the then-current USD LIBOR one-year rate as published by the British Bankers
      Association.
      “ND” is the number of days after the Payment Due Date.

      In addition to the foregoing, the Customer shall pay a debt recovery fee of 40 (forty) Euros.

The Service Charges and any other payments hereunder shall be paid to Eutelsat net, i.e. without
deduction or withholding of any and all present or future taxes (including, inter alia, VAT or turnover
taxes), duties, assessments, levies and any other charges of any nature whatsoever now or hereafter
imposed, levied, collected, withheld, or assessed by, or on behalf of, any Governmental Authority, unless
such withholding or deduction is required by law (referred to as the “Deducted Taxes”). If by operation of
law or otherwise, Deducted Taxes are required to be deducted or withheld from any amount payable to
Eutelsat under this Agreement, the Customer irrevocably undertakes to pay such additional amounts to
Eutelsat in order that that the net amount actually received by Eutelsat shall be equal to the amount that
Eutelsat would have received if Deducted Taxes had not been deducted or withheld from such payment.”



    b) Clause Twelve is hereby replaced by the following wording:

“TWELFTH - ENTRY INTO FORCE AND TERM

This Agreement shall enter into force on the Effective Date set out on the head page hereof and shall
remain in full force and effect for an initial term of 3 (three) years (hereinafter referred to as the “Term”).
Service Orders shall commence and continue for the Operational Period(s) specified therein. Service
Orders shall survive the expiry or early termination of the Agreement. For the avoidance of doubt, upon
the expiry or termination of this Agreement, the terms and conditions of this Agreement shall continue to
apply to any Service Order concluded by Parties prior to the expiry of the Term, until the respective expiry
or early termination of said Service Order(s).”



    c) Clause Twenty One is hereby replaced by the following wording:


“TWENTY-FIRST – PERSONAL DATA

To the extent personal data are processed under this Agreement, the Parties undertake to comply with
the then-applicable regulations governing the processing of personal data, inter alia, French Law no. 78-
17 of 6 January 1978 on information technology, data filing and civil liberties as amended and, as from 25
May 2018, EU Regulation 2016/679 of 27 April 2016 on the protection of natural persons with regard to
the processing of personal data and on the free movement of such data.”

    d) Clause Twenty Four is completed by the following terms:




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“Waiver of Jury Trial. Each party hereby irrevocably waives its rights to trial by jury in any Action or
proceeding arising out of this Agreement, any Service Order and/or the transactions relating
thereto.”

    e) Exhibit 1 is hereby replaced by Schedule 2 hereto.




IN WITNESS WHEREOF each of the Parties has duly executed this Agreement on the date specified
above.

 For and on behalf of Eutelsat S.A.                       For and on behalf of GoGo




 By:                                                      By:
 Title:                                                   Title:
 Date:                                                    Date:




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                              SCHEDULE 2 – TEMPLATE SERVICE ORDER

Service Order Reference: _____________

BETWEEN:

Eutelsat S.A., a French joint-stock company, registered with the Registry of Commerce of Paris under
the number 422 551 176, whose registered office is located at 70, rue Balard, 75015 Paris, FRANCE,

(referred to as “Eutelsat”)

AND

[•••••••••••••••], a company incorporated under the laws of [••••••••••••],under the registration number
[•••••••••••••••••••], whose registered office is located at [••••••••••••••••], duly represented for the purposes
hereof by [•••••••••••••••••],[•••••••••••••••••],

(referred to as the “Customer”)

Eutelsat agrees to provide the Customer with the following Service, and the Customer agrees to procure
the Service from Eutelsat, upon the terms and conditions set out in this Service Order read together the
Agreement in force between the Parties ref. [•••••••••••••••••] and all annexes hereto:

Satellite                                                                       [••••••••••••]

Transponder                                                                     [••••••••••••]

Bandwidth ( in MHz or Mbps)                                                     [••••••••••••]

Service Priority                                                                [••••••••••••]

Ground Service                                                                  Yes / No

Service Application                                                             [••••••••••••]

Operational        Service Commencement Date                                    dd/mm/yyyy
Period             Service End Date                                             dd/mm/yyyy



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Service Charges per month (excluding VAT)                                           [••••••••••••]

The technical characteristics of the Service are described in the annex(es) attached hereto.

Special Conditions (if applicable): [•••••••••••••••••••••••••••••••••••••••••••••••]

In the event any conflict or ambiguity, the terms of this Service Order shall prevail over those of the
Agreement.

IN WITNESS WHEREOF each of the Parties has duly executed this Service Order on the date specified
above.

 For and on behalf of Eutelsat S.A.                           For and on behalf of [•••••••••••••••]




 By:                                                          By: [•••••••••••••••••••]
 Title:                                                       Title: [•••••••••••••••••••]
 Signature and company stamp                                  Signature and company stamp




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                   Exhibit F
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